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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                           Case No. 20-cr-00266-JST-1
                                                         Plaintiff,
                                   8
                                                                                             ORDER RE ADMISSIBILITY OF
                                                  v.                                         EMAIL EVIDENCE
                                   9

                                  10     MICHAEL BRENT ROTHENBERG,
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Defendant’s hearsay objections to Exhibits 1, 17, and 54-71 are overruled. The statements

                                  14   contained in these emails largely either consist of statements by Mr. Rothenberg or are not offered

                                  15   for the truth of the matter asserted. In addition, these emails qualify as business records under the

                                  16   test set forth in Mays v. United Ass’n Loc. 290 Apprenticeship & Journeymen Training Tr. Fund,

                                  17   407 F. Supp. 3d 1121, 1142 (D. Or. 2019) (holding that “an email is an admissible business record

                                  18   only if: (1) it was sent or received contemporaneously with the event(s) described in the email; (2)

                                  19   it was sent by someone with knowledge of the event(s) documented in the email; (3) it was sent or

                                  20   received in the course of a regular business activity; (4) it is ‘the producing [party’s] regular

                                  21   practice to send or receive emails that record the type of event(s) documented in the email[;]’ and

                                  22   (5) a custodian or qualified witness attests that these conditions have been fulfilled.”).

                                  23          IT IS SO ORDERED.

                                  24   Dated: November 1, 2022
                                                                                         _________ ____________________________
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                                                                                                       JON S. TIGAR
                                  26                                                             United States District Judge

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